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AO 254A (Rev. 12/03) Judgment of Acquittal



                                     UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA

            UNITED STATES OF AMERICA
                                                             JUDGMENT OF ACQUITTAL
                                   V.
                                                             Case Number: 5:18-cr-00259-BLF-1
                    KATHERINE MOGAL




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




                        Signature of Judge


                    Beth Labson Freeman
                   Name and Title of Judge


                          March 11, 2020
                              Date
